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                                                   THE HONORABLE JOHN H. CHUN
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                                UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE
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10   FEDERAL TRADE COMMISSION, et al.,            CASE NO.: 2:23-cv-01495-JHC

11                    Plaintiffs,                 PLAINTIFFS’ NOTICE OF
                                                  SUPPLEMENTAL AUTHORITY
12
                 v.
13
     AMAZON.COM, INC., a corporation,
14

15                    Defendant.

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     PLAINTIFFS’ NOTICE OF                              FEDERAL TRADE COMMISSION
     SUPPLEMENTAL AUTHORITY                                 600 Pennsylvania Avenue, NW
     CASE NO. 2:23-cv-01495-JHC                                    Washington, DC 20580
                                                                          (202) 326-2222
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 1          Pursuant to W.D. Wash. LCR 7(n), Plaintiffs submit for the Court’s consideration as

 2 supplemental authority in support of their opposition to Amazon’s motion to dismiss (Dkt. #149)

 3 the attached recently issued decision in Duke Energy Carolinas, LLC v. NTE Carolinas II, LTE,

 4 No. 22-2168, __ F.4th __, 2024 WL 3642432 (4th Cir. Aug. 5, 2024). The Fourth Circuit held

 5 that the district court failed to apply the correct legal standard to an antitrust plaintiff’s

 6 allegations of anticompetitive conduct in violation of Section 2 of the Sherman Act and vacated

 7 the district court’s order granting the defendant’s motion for summary judgment. The Fourth

 8 Circuit’s discussion of whether alleged “multi-faceted” anticompetitive conduct by a

 9 monopolist—including “exclusionary pricing allegations,” id. at *15-16—must be considered as

10 a whole, see id. at *11-13, is highly relevant to disputed issues associated with Amazon’s motion

11 to dismiss, see Dkt. #127 at 8-15; Dkt. #149 at 6-8, 14-15; Dkt. #178 at 3-6.

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     Dated: August 9, 2024                          Respectfully submitted,
14
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